Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 1 of 52 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CENTRAL LABORERS’ PENSION FUND,

NORTH CENTRAL ILLINOIS LABORERS’
HEALTH AND WELFARE FUND,

NORTHERN ILLINOIS & IOWA LABORERS’
HEALTH & WELFARE FUND,

NORTHERN ILLINOIS LABORERS’ ANNUITY FUND,

ILLINOIS LABORERS AND CONTRACTORS JOINT
APPRENTICESHIP & TRAINING TRUST FUND,

MARKET PROMOTION FUND,

MIDWEST REGION ORGANIZATION COMMITTEE,

and the GREAT PLAINS LABORERS’ DISTRICT
COUNCIL WORKING DUES CHECK OFF FUND

Plaintiffs,
21-Cv-3061

Vv.

ALLIED POWER SERVICES, LLC,
a Delaware limited liability company,

Nowe” Nem None” Noe” Nee Nee Ne Nee ee ee ee ree Nee Nee Nee tee tee tee See” Nee”

Defendant(s).

COMPLAINT
Plaintiffs Central Laborers’ Pension Fund, ef al. (collectively “Plaintiff Funds”), by their
attorneys, complain against Defendant ALLIED POWER SERVICES, LLC, as follows:
COUNT I
against
ALLIED POWER SERVICES, LLC
(Claim under ERISA for delinquent employee fringe benefit contributions)

1. This action arises under the Employee Retirement Income Security Act of 1974, as
amended, 29 U.S.C. §§ 1132, 1145 (“ERISA”); the Labor Management Relations Act, as amended,
29 U.S.C. § 185(a) (““LMRA”); 28 U.S.C. § 1331; and federal common law.

2. Plaintiff Funds are multiemployer pension funds, welfare funds, apprentice funds,
labor-management committees, and related funds established pursuant to collective bargaining

agreements between, on the one hand, the Laborers International Union of North America (the

“Union’) and local unions and district councils affiliated with the Union, and, on the other hand,
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certain employers and employer associations. The Union and its affiliated local unions and district
councils are labor organizations within the meaning of the LMRA, 29 U.S.C. § 152(5), representing
employees in an industry affecting commerce as defined by the LMRA, 29 U.S.C. § 185(a).

3. Plaintiff Funds receive fringe benefit contributions and dues payments from certain
employers pursuant to collective bargaining agreements between, on the one hand, the Union and
district councils and local unions affiliated with the Union, and, on the other hand, certain employer
associations and employers, all on behalf of employees covered by the collective bargaining
agreements. The Plaintiff Funds’ right to receive fringe benefit contributions and dues payments also
arises pursuant to participation agreements between the Plaintiff Funds and employers.

4, Plaintiff Central Laborers’ Pension Fund is the authorized collection agents for the
other Plaintiff Funds with respect to fringe benefit contributions and dues payments.

5. ALLIED POWER SERVICES, LLC is a Delaware limited liability company with
offices in Wilmington, Illinois and that does business in the Northern District of Illinois. Venue in
this district is proper under ERISA, 29 U.S.C. § 1132(e)(2); and 28 U.S.C. § 1391(b). ALLIED
POWER SERVICES, LLC is an “employer” and a “party-in-interest” as those terms are defined by,
respectively, Sections 3(5) and 3(14)(C) of ERISA, 29 U.S.C. §§ 1002(5) and 1002(14)(C).

6. ALLIED POWER SERVICES, LLC became a party to and bound by collective
bargaining agreements with the Union (and/or one or more district councils and local unions affiliated
with the Union) by virtue of its execution of one or more memorandum of agreement or other
collective bargaining agreements. Copies of signature pages of one or more such collective
bargaining agreements are attached as Exhibit A. No party has terminated the collective bargaining

agreements and they remain in effect.
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7. By virtue of certain provisions contained in the collective bargaining agreement(s),
ALLIED POWER SERVICES, LLC became a party to and bound by the Plaintiff Funds’ trust
agreements.

8. ALLIED POWER SERVICES, LLC became a party to and bound by one or more
participation agreements with the Plaintiff Funds. No party has terminated the collective bargaining
agreements and they remain in effect.

9. By virtue of certain provisions contained in the participation agreement(s), ALLIED
POWER SERVICES, LLC became a party to and bound by the Plaintiff Funds’ trust agreements.

10. ALLIED POWER SERVICES, LLC became a party to and bound by the collective
bargaining agreements, participation agreements, and trust agreements by virtue of its signing and
submitting (and certain provisions contained in) employer contribution report forms to the Plaintiff
Funds.

12, ALLIED POWER SERVICES, LLC became a party to and bound by the collective
bargaining agreements, participation agreements, and trust agreements by virtue of its withholding of
(some but not all) payroll deductions and dues consistent with the collective bargaining agreements,
participation agreements, and trust agreements.

13. ALLIED POWER SERVICES, LLC became a party to and bound by the collective
bargaining agreements, participation agreements, and trust agreements by making (some but not all)
employee fringe benefit contributions and dues payments to the Plaintiff Funds.

14. Under the terms of the collective bargaining agreements, participation agreements, and
trust agreements, ALLIED POWER SERVICES, LLC is required to make fringe benefit contributions
and dues payments to the Plaintiff Funds on behalf of employees performing work covered by the
collective bargaining agreement; the contributions and dues are required to be at the hourly rates

indicated in the collective bargaining agreement and participation agreements. Under the terms of
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the agreements, ALLIED POWER SERVICES, LLC is also required to submit monthly remittance
reports identifying, among other things, the employees covered under the collective bargaining
agreement and the amount of contributions and dues to be remitted on behalf of each covered
employee.

15. In or about August 2020, the Plaintiff Funds conducted a payroll compliance audit of
ALLIED POWER SERVICES, LLC for the period January 1, 2019 through June 30, 2020. A copy
of that audit is attached as Exhibit B. The audit revealed that ALLIED POWER SERVICES, LLC
failed and refused to pay all contributions and work dues in accordance with the provisions of the
collective bargaining agreements, participation agreements, and trust agreements. The unpaid
amounts total not less than the following:

Audit Liabilities (1/1/2019 through 6/30/2020): $38,049.71

Total: $38,049.71

16. Audit costs, for which ALLIED POWER SERVICES, LLC is liable in accordance
with the collective bargaining agreements, participation agreements, and trust agreements, total not
less than $2,869.02. A copy of the audit invoice is attached as Exhibit C.

17.‘ The participation agreements and trust agreements provide for a penalty assessment
equal to 10% of the contributions unpaid on the 15th day of the month next following the month for
which the contributions are due. ERISA additionally provides, in 29 U.S.C. § 1132(g)(2)(C), that
upon recovery of unpaid benefit contributions by a fiduciary of a benefit plan, “the court shall award
the plan...liquidated damages provided for under the plan in an amount not in excess of 20 percent.”

18. Because contributions were not paid when due, ALLIED POWER SERVICES, LLC

incurred 10% penalty assessments in accordance with the participation agreements and trust

agreements totaling not less than the following:
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oceceecuseseeseeeesensteeeseseees $3,804.97
Total: $3,804.97

Audit Liabilities (1/1/2019 through 6/30/2020):

19. The total amount owed by ALLIED POWER SERVICES, LLC to plaintiffs is not less
than $44,723.70, consisting of not less than: $38,049.71 in audit labilities (delinquent fringe benefit
contributions), $3,804.97 in late payment penalties, and $2,869.02 in audit costs.

20. ALLIED POWER SERVICES, LLC has failed and refused to pay the amount of
$44,723.70 known to be due to Plaintiffs.

21. Plaintiffs have been required to employ auditors and the undersigned attorneys to
identify and pursue collection of the amount due from ALLIED POWER SERVICES, LLC

22. ERISA provides, in 29 U.S.C. § 1132(g)(2)(D), that upon recovery of unpaid benefit
contributions by a fiduciary of a benefit plan, “the court shall award the plan...reasonable attorney’s
fees and costs of the action, to be paid by the defendant.” The participation agreements and trust
agreements also provide that employers who become delinquent in making fringe benefit
contributions are liable to the Plaintiff Funds for the cost of an audit and attorney’s fees and costs.

23. ERISA provides, 29 U.S.C. § 1132(g)(2)(B), that upon recovery of unpaid benefit
contributions by a fiduciary of a benefit plan, “the court shall award the plan...interest on the unpaid

contributions.”

WHEREFORE, Plaintiffs respectfully request that this Court:

A. Enter judgment against ALLIED POWER SERVICES, LLC in favor of Plaintiffs.

B. Order ALLIED POWER SERVICES, LLC to pay Plaintiffs not less than $44,723.70.

C. Order ALLIED POWER SERVICES, LLC to pay interest, costs, and reasonable
attorney’s fees to Plaintiffs pursuant to 29 U.S.C. § 1132(g)(2).

D. Order ALLIED POWER SERVICES, LLC to perform and continue to perform all

obligations it has undertaken with respect to the Plaintiff Funds.
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E. Grant Plaintiffs such other and further relief as may be just.

Respectfully submitted,
CENTRAL LABORERS’ PENSION FUND, ef al.

By: /s/ Richard A. Toth
One of their attorneys

GEORGES & SYNOWIECKI, LTD.
20 S. Clark St., Suite 400

Chicago, IL 60603-1903

(312) 726-8797
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) LOA 1007-429
EXELON GENERATING AMENDMENT

Letter of Assent

The undersigned Contractor, its successors and assigns (hereinafter referred to as
“Contractor”) subject to the approval of the GENERAL PRESIDENTS’
COMMITTEE ON CONTRACT MAINTENANCE hereby agrees to the terms
set forth in the Exelon Generation Company, LLC, Generating Facility
Amendment to the General Presidents’ Project Maintenance Agreement dated
April 14, 2005.

Promptly upon approval of this Letter of Assent by the GENERAL
PRESIDENTS’ COMMITTEE ON CONTRACT MAINTENANCE, a copy of
this Letter shall be furnished to the Contractor and to the Exelon Generation
Company LLC.

CONTRACTOR
Company Allied Power Services LLC
Address 40D Convent on St. Solke 470 Phone: 7] 13- (,20~3635

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By: Pp, x : 0 , Dated: [4 ~ i. “17
. E-mail: Asa oK a allies pwR COM
Title: Vea Presi det

 

 

 

 

Approved:

General Presidents’ Committee on Contract Maintenance

Dated: __ - “1 z-11 (ty

 

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in September 2017, at which time empirical data collected by Exelon for time required by
persons to complete the ePHQ will be presented to PNC for review. The two-hour/one-
hour pay terms described in the Compensation section above will be reviewed by the Exelon
GPPMA PNC at the time using the ePHQ data collected. At the September 2017 meeting,
the Exelon GPPMA PNC may extend, modify or terminate the terms agreed to in the BOC.
In the absence of an Agreement by the Exelon GPPMA PNC to extend or modify the terms
of the BOC, it will automatically expire on December 31, 2017.

>

The Contractor and the Union, parties to this Nuclear Production Services Agreement,
agree to adopt whatever decision is made by the Exelon GPPMA PNC regarding whether
to extend, modify, or terminate the terms of the ePHQ Compensation plan.

ARTICLE XVII- TERMINATION

This Agreement shall become effective January 1, 2019, and shall remain in full force and effect until
December 31, 2021, and shall continue in effect from year to year thereafter unless notice of termination is
given by either party at least one hundred twenty (120) days prior to each successive anniversary date.

ACCEPTANCE OF AGREEMENT

 

FOR THE CONTRACOR FOR THE UNION
Allied Power Services, LLC LiUNA Midwest Region

   

Ohn F. Penn
Vice President & Midwest Regional
Manager

 

 

 

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SCHEDULE “A1”
2019

The following classifications and wages will be paid at Quad Cities Nuclear Station, Codrova, Llinois by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employces, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have fo be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2019 = 3.25% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications *A”, “B” and “C” in 2019. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2018. Total Package figures are
correct and will not change.

Effective January I, 2019 through December 31, 2019

 

 

 

 

 

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. we . a ening . | Hourly Tatal Vacation Dues*

2019 Pension H&W Aaauity Training! LECET! | Wage Package Meduet) Meduet)
Class A $ 8.44 $ 7.05 $1.01 $ .05 § 19 $ 24.53 $ 41.27 $ 2.34 | $.00%6
Class B $ 8.44 $7.05 $ 50 $ .05 § 19 $ 21.92 $38.15 $1.46 5.00%
| Class C $ 8.44 $ 7.05 | $13.71 $ 31.20 $.47 5.00%

 

 

 

 

 

 

 

 

 

 

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Note 1: For Classification “C" - Training and LECET are N/A — amount te hourly rate listed
Nate 2: Dues Deduct = 5% of Gross Wages ~ All Classifications

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow

Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

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Schedule “AI” 2019
Quad Cities Station
Cordova, Illinois

Page 2 of 2

FOR THE CONTRACTOR
~- ALLIED POWER SERVICES, LLG —--~ ----

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FOR THE UNION
--- LIGNA Midwest Regional-Office - -

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fan F. Penn

Vice President and Midwest Regional Manager

Laborers’ Local Union 309, Rock, Island, Ilinois

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SCHEDULE “A2”
2020

The following classifications and wages will be paid at Quad Cities Nuclear Station, Codrova, Mlinois by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area, Total package increase for 2020 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2020. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019. Total Package fieures are
correct and will not change.

Effective January 1, 2020 through December 31, 2020

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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202 W ‘ ty ; -ECET! ‘ane
820 Pension HEW Annuity Training LECET Wage | Package (Deduct) Weduet)
Class A TBD TBD TBD TBD TBD TBD $ 42.51 TBD TBD
Class B TBD | TBD TBD TBD TBD TBD $ 39.10 TBD TED
Class C TBD TBD TBD | 3 31.98 TBD TBD

 

Note 1: For Classification “C” — ‘Training and LECET are N/A — amount te hourly rate listed
Nate 2: Dues Deduct = TBD% of Gross Wages ~ All Classifications

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

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Schedule “A2” 2020
Quad Cities Station
Cordova, Ilinots

Page 2 of 2
FOR THE CONTRACTOR FOR THE UNION
-- ALLIED POWER-SERVICES, LLC- - ~~ ~~ LTUNA MidwestRegional Offices. 5 we

Name Joa . Penn

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Title
Laborers’ Local Union 309, Rock, Island, Illinois

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SCHEDULE “42”
2020

The following classifications and wages will be paid at Quad Cities Nuclear Station, Codrova, Iilinols by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreernents, the current
fringe benefit contribution will have to be the determining factor, Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area, Total package increase for 2020 = 3,0% for Class A and 2.5% for Classes B & C.

ringe bene be deducted from Classifications “A”, “BY and “C” in 2020, Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019, Total Package figures are
correct and will no¢ change.

 

Effective January I, 2020 through December 31, 2020

 

 

 

 

 

 

 

 

 

. 1 Hourly Total Vacation Dueg*
2020 Penalor Haw Annuity Training LECET! Waee Package (WDeduef) (@educt)
Class A $3.86 $7.15 $1.01 $05 $.19 $ 25.25 $425) $2.70 5.00%
Class B $8.86 $7.15 $.50 5.08 $19 $2235 $ 395,10 S$ 1.67 5.00 %
Class | $8.86 $7.15 $15.97 $31.98 $.73 5.00%

 

 

 

 

 

 

 

 

 

 

 

 

Note 1: For Classification “C” ~ Training and LECET are N/A —amouat to hourly rate listed
Nato 2: Dues Deduce = 8.00% of Grose Wages — All Claastiications

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCan w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (8.0.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech,

Classification “RB” Jurisdiction

Crib House, Escort Duties, General Areas (No S.0.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 tines (10%) the rate of the highest crew member, (All Clessifications)
General Foreman = 1,15 times (15%) the rate of the highest crew member, (All Classifications)

Fringe benefits to be deducted are determined by the Union, Any increase to the above fringe benefit finds
will be subtracted from the above wage rates,

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Quad Cities Station
Cordova, ilinols

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FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC

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Name

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Title

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FAX No. 3097865486 P. 002

FOR THE UNION
LIUNA Midwest Regional Office

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John F, Penn .
Vice President and Midwest Regional Manager

Laborers’ Local Union 309, Rock, Island, Lltinois

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SCHEDULE “A3”

The following classifications and wages will be paid at Quad Cities Nuclear Station, Codrova, Mlinois by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2021 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2021. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2020. Total Package figures are
correct and will not change.

Effective January 1, 2021 through December 31, 2021

 

 

 

 

ans . vw wa. imine! TEeCET! Heurty Total Vacation Dues*

2021 Pension H&W Annuity Training LECET Wage Package (Deduct) (Deduct)
Class A TBD TBD TBD TBD TED TBD § 43.79 TBD TBD
Class B TBD TBD TBD TBD TBD TBD $ 40.08 TBD TBD
Class C TBD TBD TBD $ 32.78 TED TBD

 

 

 

 

 

 

 

 

 

 

 

Nate L: For Classification “C” - Training and LECET are N/A ~— amount to hourly rate listed
Note 2: Dues Deduct = TBD% of Gross Wages — All Classifications

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No 8.0.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

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Quad Cities Station
Cordova, Illinois

 

 

 

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_.FOR THE CONTRACTOR OO 2 ww J FORTHEUNION. OD

ALLIED POWER SERVICES, LLC LIUNA Midwest Regional Office

A 4 —
Name Joka Penn
. Vice President and Midwest Regiona! Manager

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Title

Laborers’ Local Union 309, Rock, Island, Llinois

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Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 17 of 52 PagelD #:17

SCHEDULE “A1”
2019

The following classifications and wages will be paid at LaSalle Nuclear Power Station, Marseilles, Illinois
by Allied Power Services, LLC (Contractor) for employees working under the LiUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2019 = 3.25% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2019. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2018. Total Package fioures are
correct and will not change.

Effective January I, 2019 through December 31, 2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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2019 Pension H&W Anauity Training | LECET Wage Package Weduct) (Deduct)
Class A $ 10.46 $9.12 $ .63 $ .05 $.19 $ 22.40 § 42.85 1.00 4.2%
Class B $ 10.46 $9.12 §.63 $ .05 $ 49 $ 18.99 $39.44 1.00 4.2%
Class C3 $8.54 $9.12 N/A N/A NIA $ 15.58 $ 33.24 0.00 4.2%

 

 

Note f: Vacation Deduct - $Uhr. (A&B Only). Ducs Deduct = TBD % of Gross Wages (A, B & C)
Note 2: Aanuity = (A&B only and based on hours paid, Example for A: ST=$.63; OT= $.95; DT = $1.26)
Note 3: For Class C, Training & LECET are N/A; amount added to Hourly Wage instead

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)

General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

LaSalle Station only: The Union and the Contractor agree that Laborer activities related to Reactor Cavity
Decontamination and all temporary lead shielding at LaSalle Station are the work of the Laborers working
under the terms of the General President’ Project Maintenance Agreement for Exelon Generation Company,

LLC Generating Facilities.

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Schedule “AI™ 2019
LaSalle Nuclear Power Station
Marseilles, [inois

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FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC

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FOR THE UNION
LIUNA Midwest Regional Office
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Jobit F. Penn

Vice President and Midwest Regional Manager

Laborers’ Local Union 7 Marseilles {linois

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SCHEDULE “A2”
2020

The following classifications and wages will be paid at LaSalle Nuclear Power Station, Marseilles, [Mlinois

by Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region

Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits

tend to change in different areas and zones from time to time and, according to Trust Agreements, the current

fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all

wage and fringe benefits and fringes will be deducted from same in the amount called for in cach respective
rea. Total package increase for 2020 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2020. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019. Total Package ficures are
correct and will not change.

 

Effective January I, 2020 through December 31, 2020

 

 

 

 

 

. 2 | rs Hourly Total Vacation! Dues!

2020 Pension H&W Annuity | Training' LECET | Wage Package Weduct) (Deduct)
| Class A TBD TBD TBD TBD TBD TBD $ 44.14 TED | TBD
Class B TBD TBD TBD TBD TED TBD $ 40.43 TBD TBD
Class C? TBD TBD N/A | N/A N/A TBD $ 34.07 TED TBD

 

 

 

 

 

 

 

 

 

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Note 1: Vacation Deduct - $L/hr. (A&B Only). Dues Deduct = TBD % of Gross Wages (A, B & C}
Note 2: Annuity = (A&B only and based on hours paid. Example for A: ST=$.63; OT= $.95; DT = $1.26)
Note 3; For Class C, Training & LECET are N/A; amount added to Hourly Wage instead

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)

General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

LaSalle Station only: The Union and the Contractor agree that Laborer activities related to Reactor Cavity
Decontamination and all temporary lead shielding at LaSalle Station are the work of the Laborers working
under the terms of the General President’ Project Maintenance Agreement for Exelon Generation Company,
LLC Generating Facilities.

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Schedule “A2” 2020
LaSalle Nucfear Pawer Station
Marseilles, Ulinois

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FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC

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FOR THE UNION
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John F. Penn
Vice President and Midwest Regional Manager

Laborers’ Local Union 393, Marseilles [linois

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SCHEDULE “A2”
2020

The following classifications and wages will be paid at LaSalle Nuclear Power Station, Marseilles, I}inois
by Allied Power Services, LLC (Contractor) for employees working under the LUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
' area. Total package increase for 2020 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2020. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019. Total Package figures are
correct and will not change.

Effective January 1, 2020 through December 31, 2020

 

 

 

 

. oo er apt Hourty Total Vacation! Dues!

2020 Pension H&W Annuity Training LECET Wage Package (Deduet) (Deduct)
Class A $ 10.98 $ 9.22 $ .63 $ .05 $ .19 $ 23.07 $ 44.14 $ 1.00 4.2%
Class B $ 10.98 $ 9.22 $.63 $ .05 $.19 $ 19.36 $ 40.43 $ 1.00 4.2%
Class C $ 8.97 $ 9.22 N/A N/A N/A $ 15.88 $ 34.07 $ 0.00 4.2%

 

 

 

 

 

 

 

 

 

 

 

 

Note 1: Vacation Deduct - $1/tr. (A&B Only). Dues Deduct = 4.2% of Gross Wages (A, B & C)
Note 2: Annuity = (A&B only and based on hours paid. Example for A: ST=$.63; OT= $.95; DT = $1.26)
Note 3: For Class C, Training & LECET are N/A; amourt added to Hourly Wage instead

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)

General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates. ,

LaSalle Station only: The Union and the Contractor agree that Laborer activities related to Reactor Cavity
Decontamination and all temporary lead shielding at LaSalle Station are the work of the Laborers working
under the terms of the General President’ Project Maintenance Agreement for Exelon Generation Company,
LLC Generating Facilities.

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Schedule “A2” 2020
LaSalle Nuclear Power Station
Marseilles, Illinois

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FOR THE CONTRACTOR FOR THE UNION

ALLIED POWER SERVICES, LLC LIUNA Midwest Regional Office

Name John F. Penn

, os reo Vice President and Midwest Regional Manager
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Title

Laborers’ Local Union 393, Marseilles IHlinois

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Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 23 of 52 PagelD #:23

SCHEDULE “A3”
2021

The following classifications and wages will be paid at LaSalle Nuclear Power Station, Marseilles, [linois
by Allied Power Services, LLC (Contractor) for employees working under the LUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fri ringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2021 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2021. Pension and Health &
Welfare numbers are to be determined below bv the Union in late 2020. Total Package figures are
correct and will not change.

Effective January I, 202] through December 31, 2021

 

 

 

 

 

 

 

2021 Pension | H&W | Annuity? | Training! | LECET! Wace, a YDeduet) (Deda
ClassA | TBD | TBD | TBD TBD TBD | TBD | $4546 | TED | TED
CassB | TED | TBD | TRD TBD TBD =| TBD | $4144 9 TBD | TBD
Class C3 | TBD | TBD | NA N/A NIA TBD | $34.92 | TBD | TD |

 

 

 

 

 

 

 

 

 

 

Note 1: Vacation Deduct - $1/ne. (A&B Only}. Dues Deduct = TBD % of Gross Wages (A, B & C)
Note 2: Annuity = (A&B only and based on hours paid. Example for A: ST=$.63; OT=$.95; DT = $1.26}
Note 3: Far Class C, Training & LECET are N/A; amount added to Hourly Wage instead

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction
Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Cortrol, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning

Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)

General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

LaSalle Station only: The Union and the Contractor agree that Laborer activities related to Reactor Cavity
Decontamination and all temporary lead shielding at LaSalle Station are the work of the Laborers working
under the terms of the General President’ Project Maintenance Agreement for Exelon Generation Company,
LLC Generating Facilities.

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Schedule “A3" 2022
LaSalie Nuctear Pawer Station
Marseilles, [Hinois

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FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC
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FOR THE UNION
LIONA Midwest Regional Office
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Jotn F. Penn

Vice President and Midwest Regional Manager

Laborers’ Local “t 393, Marseilles [Hnois

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SCHEDULE “AJ”
2019

The following classifications and wages will be paid at Byron Nuclear Power Station, Byron Ulinois by
Allied Power Services. LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the ratcs listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2019 = 3.25% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2019. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2018. Total Package ficures are
correct and will not change,

Effective January 1, 2019 through December 31, 2019

 

 

 

 

 

2019 | Pension | HGW! | Annuity? | Training’ | LECET! ae Pacers . Dated Dene
ClassA | $717 | $912 | $4.10 $ .05 $.19 | $24.95 | $45.58 NIA a
ClasB | $717 | $942 | $4.10 $05 $19 | $2188 | $42.51 NIA a
Cassc | $717 | $942 | N/A N/A NWA | $19.92 | $36.21 N/A ae

 

 

 

 

 

 

 

 

 

 

 

Note 1: For Classification “C” — Training and LECET are N/A ~ amount to hourly rate listed

Note 2: Vacation Deduct = $4.00/hr. Dues Deduct = TBD of Gross Wages Plus $0.04/hr Building Trades.

Note 3: Class A & B only. Hours paid. ST=$4.16; OT=$6.15; DT=$3.20

Note 4: $9.12 = $8.40 paid to North Central Ulinois Laborers’ H&:W Fund plus §.72 paid te Northern [linois Welfare Fund

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech. :

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No $.O-P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
emoval, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

Lead shielding work and support for steam generator maintenance are classified as GPPMA activities.
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Schedule “Al” 2059
Byron Nuclear Power Station
Byron, Blinois

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FOR THE CONTRACTOR
~ ++ ALLIED.POWER SERVICES, LLC - .

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FOR THE UNION

- -LIUNA Midwest Regional Office ------.-. 5 ------~-

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Vice President and Midwest Regional Manager

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. SCHEDULE “A2”
2020

The following classifications and wages will be paid at Byron Nuclear Power Station, Byron Illinois by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area, Total package increase for 2020 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2020. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019. Total Package ficures are
correct and will not change,

Effective January 1, 2020 through December 31, 2026

 

 

 

 

 

 

 

 

 

 

 

 

 

2020 | Pension H&w! Annaity? Training’ LECET! Wace a pocient Metis
ClassA | TBD | TBD TBD TBD TBD TBD | $46.95 NIA care |
ClassB | TBD TBD TBD TBD TBD TED $ 43.57 N/A oe
Class | TBD | TBD TBD N/A NA TBD | $37.12 N/A oer

 

 

 

 

 

Note t: For Classification “C” ~ Training and LECET are N/A — amount to heurly rate listed

Nate 2: Vacation Deduct = $0.00/hr. Dues Deduct = TBD % of Gross Wages Plus $6.04/hr Building Trades,

Note 3: Class A & B only. Hours paid. ST=$4.10; OT=$6.15; DT=$8.20

Nate 4: STBD = $TBD paid te Nocth Central Jiinois Laborers’ H&W Fund plus §.72 paid ta Northern MWineis Welfare Fund

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specitic Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Ditty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No 8.0.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit fimds
will be subtracted from the above wage rates.

Lead shielding work and support for steam generator maintenance are classified as GPPMA activities.

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Byron Nuclear Pawer Station

Byroe, Illinois

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FOR THE CONTRACTOR FOR THE UNION

ALLIED POWER SERVICES, LLC LIUNA Midwest Regional Office

 

 

  

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SCHEDULE “42”
2020

The following classifications and wages will be paid at Byron Nuclear Power Station, Byrou Ilinois by :
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region }

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2020. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2019. Tota! Package figures are °:
correct and will not change. ;

Effective January 2, 2620 through December 31, 2020

 

 

 

 

 

 

 

 

 

 

 

 

2026 Pension | H&W* | Anoulty? Training! LECET! Were Packer (Deduct Detar 7
ClssA | s75. | $922 | $440 $05 $3.20 | s2sa6 | s4c9s | Wa ne
ClasB | $752 | $922 | $410 3.05 $20 | 2248 | sass7 | wa | Se |
ClassC | $7.52 | $9.22 | NA NA NA | 20.38 | $3722 | Wa we

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Note 1: For Classification “C™ — Training and LECET are N/A — amount lo hourly rate ilsted

Nate 2: Vacation Deduct = §0.90/br, Dues Ded uct= 4 % of Gross Wages Plus S .04/ir Building Trades.

Nate 3: Class A & B only. Hours paid. ST=S 4.10; OT=$ 6.15; DT <5 8.20

Note 4: $9,22 = $8.50 pald to Nerth Central llinols Leborers’ H&W Fund plus $ .72 pald to Northera Minols Welfare Fond

Classification “A” Jurisdiction !
Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry |

Pick-Up, Junior Rad Tech.
Classification “BY Jurisdiction ‘ ;
Crib House, Escort Duties, General Areas (No S.0.P.), Clean Laundry Distribution, Soiled Laundry Pickup,

Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (Alf Classifications) |
General Foreman = 1.15 times (15%) the rate of the highest crew member, {All Classifications)

Fringe benefits to be deducted are determined by the Union, Any increase fo the above fringe benefit funds |
wilt be subtracted from the above wage rates, 3

Lead shielding work and support for steam gencrator maintenance are classified as GPPMA activities, |

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Byron Nuclaar Power Station
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Page 2 of 2 i
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FOR THE CONTRACTOR
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POWER SERVICES, LLC LIUNA Midwest Regional Office |
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Vi Ce. Pre Se Vouk Vice President and Midwest Regional Manager |
Title |

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SCHEDULE “A3”
2021

The following classifications and wages will be paid at Byron Nuclear Power Station, Byron Hlinois by
Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2021 = 3.0% for Class A and 2.5% for Classes B & C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2021. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2020. Total Package figures are
correct and will not change.

Effective January I, 2021 through December 31, 2021

 

 

 

 

 

 

 

 

 

202 j Wi ity? ining! ; 1 | Hourty Total Vacation? “Dues?
2021 Pension HEW Annuity Training LECET Wage Pa ckage uct) (Deduct)
CassA | TBD | TED | TBD TBD TBD TBD | $4836 NIA aw
_ Sok Note
ClasB | TRD | TBD | THD TBD TBD | TBD | $44.66 | N/A a
ns s¥Ote
ClasC | TBD | TBD N/A NIA’ NIA TBD | $38.05 NIA ae
ofe }

 

 

 

 

 

 

 

 

 

 

 

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Note 1: For Classification “C” ~ Training and LECET are N/A ~ amount to hourly rate Usted
Note 2; Vacation Deduct = TBD /hr, Dues Deduct = TBD% of Gross Wages Pins TBD /hr Building Trades.

Note 3; Class A & B oaly. Hours paid. ST= TBD; OT=$ TBD; DT= $ TBD
Note 4; TBD = TBD paid te North Central Illinois Laborers’ H& W Fund plus $ TBD paid to Northern Illinois Welfare Fund

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction
Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning

Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1,10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union, Any increase to the above fringe benefit funds
will be subtracted from the above wage rates.

Lead shielding work and support for steam generator maintenance are classified as GPPMA activities,
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Schedule “A3” 2021

Byron Nuclear Power Station
Byron, [inois
Page 2 of 2
FOR THE CONTRACTOR FOR THE UNION
»--~AELIED POWER SERVICES, EL@— ~~ >>> LTUNA Midwest Regional Office” © ~~ =

 

 

 

Name SetaF. Penn

r 6 Vice President and Midwest Regional
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SCHEDULE "A2"
2017

The following classifications and wages will be paid at Quad Cities Nuclear Station, Cordova, Hlinois
by Allied Power Services, LLC (Contractor) for employees working wader the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees. Fringe
benefits tend to change in different areas and zones from time to time and, according to Trust
Agreements, the current fringe benefit contribution will have to be the determining factor. Therefore, all
of the rates listed include all wage and fringe benefits and fringes will be deducted from same in the
amount called for in each respective area. Total package increase for 2017 =3,10% for Classes A&B

and 3.50% for Class C.

Fringe benefits to be deducted from Classifications "A" “B" and “C” in 2017 are estimated below and
will be finalized by the Union in late 2016:

 

Effective January 1, 2017 through December 31, 2917

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. ' : et t Hourly Total Vacation Dues?
2017 Pension H&EW Anauity | Troising LECET Wage Package (Deduct) (Deduct)
Class A $ 1.64 | $ 7.00 | $ -~1$ 0.05 | $ G18 | $ 23.84 | $ 38.71 $ 131 5.00%
faa
Class B $ 764) § 7.00 | $ -1$ 0.05 | $ O18 | § 21.18 | $ 36.05 $ A3L 5.00%
|
Class C $ 76413 7.00 |$ -| $ - | $ -|$ 1479 18 29.44 $ 0.33 | 4.00%

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Note 1: For Classification “C” - Training anid LECET are N/A — amount added to hourly cate instead.
Note 2: Dues Deduct = 5% of Gross Wages — all Classifications.

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/Respitator and/or Rubber Geat, Bead Blast, Cavity Wash,
Sump Cleaning, Specific Area DeCon for Clean Release (S.O.P.), Tool Decon, Contaminated and Dirty
Laundry Pick-Up, Junior Rad Tech, |

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry
Pickup, Robotics, FME Control and Confined Spaces When Wearing Protective Clothing, Scrubs or
Clean Clothing, Firewatch.

Classification “C” Jurisdiction

Non-Operating Plant Janitorial, Service Building J anitor, Office Trailer Janitorial, Furniture Moves, Snow
Remova!, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1,15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit
funds will be subtracted from the above wage rates.

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Schedule “A2” 2017
Quad Citles Station
Cordova, Illinois

Page 2 of 2

FOR THE CONTRACTOR

Allied Power Services, LLC

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Title

FOR THE UNION

LIUNA Midwest Regional Office

John F. Penn

Vice President and Midwest Regional Manager

Laborers’ Locat 309, Rock Island, Illinois

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Brad Long, Business Manager

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Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 35 of 52 PagelD #:35

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SCHEDULE “A3”
2018

The following classifications and wages will be paid at Byron Nuclear Power Station, Byron Illinois by
Allied Power Services, LLC (Contractor) for employees working under the LiUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones fromm time to time and, according to Trust Agreements, the curreat
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area. Total package increase for 2018 = 3,25% for Classes A&B and 3.40% for Class C.

Fringe benefits to be deducted from Classifications “A”, “B” and “C” in 2018. Pension and Health &
Welfare uumbers are to be determined below by the Union in late 2017. Total Package figures are

correct and will not change.

Effective January 1, 2018 through December 31, 2018

 

 

 

 

 

 

 

 

 

 

(2018 | Pension | HAW! | Annuity’ Training! | LECET! Hourly | an ‘oe | edt
ClassA | 6.83 | 8.92 4.10 05 18 2407 | 4418 N/A oe
ClasB | 6.83 8.92 4.10 05 | 18 2.39 | 41.47 N/A ae

| Class C 6.83 892 (N/A NA) ONAL | 19.88 | 3533 | NiA See |

 

 

 

 

 

 

 

=e ae
Note 1: For Classification “C” - Training and LECET are N/A — amount to hourly rate listed
Note 2: Vacation Deduct = $0.00/ar, Dues Deduct = 4% af Gross Wages Plus $0.04/hr Building Trades,
Note 3: Class A & B only. Hours paid, ST=$4.10; OT=$6.15; DT=$8.20
Note 4; $8.92 = $8.20 paid to North Central Iinois Laborers’ H&W Fund plus $.72 paid to Northern Winois Welfare Fund

Classification “A” Jurisdiction
Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (§.0.P), Tool DeCon, Contaminated and Dirty Laundry

Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No §.0.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman = 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to eS IVER
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will be subtracted from the above wage rates In) ECE.

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Schedule "43" 20/8
Byron Nuclear Power Stalion
Byron, Hillnois

Page 2 af 2

FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC

Name

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Title”

FOR THE UNION
LIUNA Midwest Regional Office

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John F, Pens
Vice President and Midwest Regional Manager

Laborers’ Local Union 727, Byron, [Vinois

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SCHEDULE “A3”
2018

The following classifications and wages will be paid at LaSalle Nuclear Power Station, Marseilles, Illinois
by Allied Power Services, LLC (Contractor) for employees working under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maintenance Employees, Fringe benefits
tend to change in different areas and zones from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all
wage and fringe benefits and fringes will be deducted from same in the amount called for in each respective
area, Total package increase for 2018 = 3.25% for Classes A&B and 3.40% for Class C.

Fringe benefits to be deducted from Classificatious “A”, “B” and “C” in 2018. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2017. Total Package figures are
correct and will not change.

Effective January 1, 2018 through December 31, 2018

 

 

 

 

 

 

 

 

 

] , | . . Hourly Total Vacation! | Dues!
i 2018 Fension R&w Anauity? Training! LECET' Wage Package (Deduct) | (Deduct)
ClasA | $9.96 | $892 | $.63 $05 $18 § $276 | 4150 | 100 | 42% ©
-- :
Class B $ 9.96 $ 8.92 $ .63 § .0S $.18 $ 18.74 38.48 1.00  A2%
' T +
Class C* $814 | $8.92 | N/A L N/A \ N/A | $15.37 32.43 0,00 4.2%

 

 

 

 

 

 

Note 1; Vacation Deduct - Si/hr. (A&B Only), Dues Deduct = 4.2% of Gross Wages (A, B & C)
Note 2: Annuity = (A&B onty and based on bours paid. Example for A: ST=$,63; OT= $95; DT = $1.26)
Note 3: For Class C, Training & LECET are N/A; amount added to Hourly Wage instead

Classification “A” Jurisdiction

Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Area DeCon for Clean Release (S.O.P), Tool DeCon, Contaminated and Dirty Laundry
Pick-Up, Junior Rad Tech.

Classification “B” Jurisdiction

Crib House, Escort Duties, General Areas (No S.O.P.), Clean Laundry Distribution, Soiled Laundry Pickup,
Robotics, FME Control, and Confined Spaces When Wearing Protective Clothing, Scrubs or Cleaning
Clothing, Firewatch.

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Office Trailer Janitorial, Furniture Moves, Snow
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

Foreman ~ 1.10 times (10%) the rate of the highest crew member. (All Classifications)
General Foreman = 1.15 times (15%) the rate of the highest crew member. (All Classifications)

Fringe benefits to be deducted are determined by the Union. Any increase to the above fringe benefit funds
will be subtracted from the above wage rates. | e S (= i we,
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Schedule “A3" 2018
LaSalle Nuclear Power Station
Marseliles, Illinols

Poge 2 of 2

FOR THE CONTRACTOR
ALLIED POWER SERVICES, LLC

FOR THE UNION
LIUNA Midwest Regional Office

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Joho F, Penn
Vice President and Midwest Regional Manager

Laborers’ Local Union 393, Marseilles [inois
 

Case: 1721-cv-03061 Document #: 1 Filed: 06/08/21 Page 39 of 52 PagelD #:39

% ca SCHEDULE “A3"

 

 

2018
The folowing classifications and wages will be paid at Quad Cities Nuclear Station, Codrova, Llinois by
Allied Power Services. LLC (Contracicr} for employees werking under the LIUNA Midwest Region
Agreement for Nuclear Production Services, Custodial and Ground Maistenance Employees. Fringe benefits

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tend io change in different areas and zanes from time to time and, according to Trust Agreements, the current
fringe benefit contribution will have to be the determining factor. Therefore, all of the rates listed include all

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wage and fringe benefits and fringes will be deducted fromm same in the amcunt called for in each respective
area. Total package increase for 20618 — 3.25% for Classes A&B and 3.40% for Class C.

Frince benefits to be deducted from Classifications “A”, “B” and “C” in 2018. Pension and Health &
Welfare numbers are to be determined below by the Union in late 2017. Tetal Packace figures are
correct and will not change.

Lffective January 1, 2018 threugh December 31, 2818

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: | 2% To Hlourly Total i Vueatio: Dues? |
| Peasion &W | Annuity Trainiag! LECET! } ° sei a
HEB ! Pensiai R&yY Annuity | __Trainigg CET Wage | Package (Dedues) @educt) |
Class A 3 3.04 $ 7.08 § $1 $ BS $.18 1 $24.19 $39.97 3 1.66 §.08% |
| ClassB | $8.84 | $7.00 $50 | $08 = $48 | $2145 | $37.22 $146 | 5.00% |
ClasC | $8.04 | $7.00 ($3549 | $3044 $3.47 5.00%
Note 1: or Classification “C” — Traiaiag and LECEY are N/A — amount to hourly rate listed ,
Nate 2: Dues Deduct = 5% of Gross Vyaues — AB Classifications
Classification “A” Jurisdiction
Lead Shielding, DAW Separation, DeCon w/ Respirator; and/or Rubber Gear, Bead Blast, Cavity Wash, Sump
Cleaning, Specific Arca DeCon for Clean Release (S.0.P), Tool DeCon, Contaminated and Dirty Laundry

Pick-Up, Junior Rad Tech.

Classification “B” Turisdiction

Crib House, Escort Dutics, General Areas (No S
Robotics, FME Control, and Confined Spaces
Clothing, Firewatch,

 

Classification “C” Jurisdiction
Non-Operating Plant Janitorial, Service Building Janitor, Cffice T
Removal, Lawn Mowing, Landscaping, Grounds Keeping.

 

 
 

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LiUNA Midwest Regional Office

 

 

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Laborers’ Local Linton 399, Rock, Island, Iincis

 

 

 

 

 

 

 

 

 
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STATEMENT OF ADDITIONAL
REPORTABLE HOURS DUE FOR
ALLIED POWER SERVICES, LLC

ON BEHALF OF THE
CENTRAL LABORERS’ PENSION,
WELFARE AND ANNUITY FUNDS
FOR THE PERIOD
JANUARY 1, 2019 THROUGH JUNE 30, 2020

EXHIBIT
Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 42 of 52 PagelD #:42

~ ROMOLO
& ASSOCIATES, LLC 1700 W. LUTHY DRIVE, PEORIA IL 61615

CERTIFIED PUBLIC ACCOUNTANTS PHONE 309.682.2001 ¢ FAX 309.682.2045 « romolocpa.com

Central Laborers’ Pension,
Welfare and Annuity Funds
Jacksonville, Illinois

We have performed the procedures enumerated on the attached supplement, which were agreed
to by the Central Laborers Pension, Welfare, & Annuity Funds (the Fund), solely to assist you with
respect to the selected payroll and related records of Allied Power Services, LLC for the period of
January 1, 2019 through June 30, 2020. The employer's management is responsible for the
employer records provided to us. These procedures were designed to determine if the data
submitted by the Employer is in compliance with the reporting provisions of the collective
bargaining agreements, participation agreements, and Central Laborers Pension, Welfare, &
Annuity Funds’ Trust Agreements. The sufficiency of the procedures is solely the responsibility of
those parties specified in the report. Consequently, we make no representation generally
regarding the sufficiency of the procedures described in the attached supplement either for the
purpose for which this report has been requested or for any other purpose.

The scope of this engagement is limited to records made available by the employer
and would not necessarily disclose all exceptions in employer contributions to the
Fund. Any compensation paid to employees not disclosed to us or made part of the
written record was not determinable by us and was not included in our review.

Our procedures performed are found on the attached supplement.

In connection with the above procedures, certain matters came to our attention that resulted in
findings of additional Employer contributions, as shown in the summary of amounts due, were
due to the Funds in the amount of $38,049.71.

In addition, the accompanying notes herein identify any special circumstances that we believe the
Trustees should consider in evaluating this report. These notes are an integral part of this report
and should be reviewed to completely understand this report.

Our procedures were related to an examination of the employer's payroll records provided to
us and did not extend to any financial statements of the contributing employer. The
procedures were substantially less in scope than an audit of the financial statements of the
contributing employer, the objective of which is the expression of an opinion on the
contributing employer's financial statements. Accordingly, no such opinion is expressed. Had
we performed additional procedures other matters might have come to our attention that would
have been reported to you.
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This report is intended solely for the information of the Central Laborers Pension, Welfare, &
Annuity Funds and is not intended to be and should not be used by anyone other than those

specified parties.

Gaara ue ervaiee- LEE.

Romolo & Associates, LLC
Certified Public Accountants
Peoria, IL

November 23, 2020
Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 44 of 52 PagelD #:44

CONSULTING AGREEMENT PROCEDURES PERFORMED

Obtained a basic understanding of the Employer’s payroll and fringe benefit
reporting system.

Obtained access to some or all of the following accounting records from the
Employer:

o Payroll journals or computer printouts with paycheck history, employee hours,
gross wages

o Individual earnings and time records on all employees or computer printout with
paycheck history

o Annual earnings records (W-2’s and W-3)

Quarterly employer’s federal withholding and FICA tax returns (Forms 941)

Quarterly employer’s contribution and wages reports for state unemployment

compensation

Employer’s copies of monthly fringe benefit report forms

Employee occupation listing

Cash disbursement records

Payments to subcontractors

Most recent union contract

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To determine that we were provided with the entire payroll we performed the
following procedure:

o Agreed gross wages per the Employer's payroll to the W-2s/W3 on a test basis

In order to determine that all hours/months for covered work were properly reported
to the Funds we performed the following test procedures on some or all employees:

o Determined classifications of employees and/or their union affiliation based on
the employer's records

o Compared hours/months worked, per the employer's records, by covered
employees to the hours/months reported based on information reported by the
Fund

o Reviewed and relied upon union report forms filed with other benefit funds as
provided to us by the employer for hours worked by covered participants, not

reported to the Fund

Reviewed findings with the Employer Representative at the conclusion of our
procedures and discussed possible delinquencies.

(Please see Notes for any scope limitation on the above procedures or additional
procedures performed not described above.)
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ALLIED POWER SERVICES, LLC
NOTES TO CONSULTING PROCEDURES
JANUARY 1, 2019 THROUGH JUNE 30, 2020

NOTE 1 NON-MANUAL SUPERVISORS

Prior to our examination, the Fund requested assistance with obtaining union
authorization forms for Laborers employed as Non-Manual Supervisors at the Clinton,
Byron, LaSalle, and Quad Cities Nuclear Station facilities. Below is a list of each of the
individuals identified by the Fund and a summary of the information we identified during
our examination. We have also listed any action taken in our report pertaining to hours
worked for these individuals. Please be advised that the employer provided us with
additional Union Benefit Authorization Benefit Forms for individuals who signed them for
Allied Power Services, LLC. We have attached all of the forms provided to us for the
Fund's review; although it appears as though there is only one which pertains to the
Fund’s jurisdiction, for Al Sutton, under Local 727.

JAMES HOLCOMB

The Fund provided us with a Union Authorization Benefit Form which Mr. Holcomb
executed with Allied Power Services, LLC under Local 309, which was signed March
12, 2019.

During our examination period, the employer reported Mr. Holcomb under the Local 309
Building contract. He was last reported to the Fund in October 2019. Based upon our
review of the employer's records provided to us, there were no hours listed in the payroll
after that time. We did not identify any discrepancies in the number of hours listed in the
employer's payroll and the number of hours reported to the Fund.

RON CARMICHAEL

We were not provided with a Union Benefit Authorization Form for Mr. Carmichael by
the Fund or the employer. Based upon our review of the employer's records provided to
us, Mr. Carmichael was not listed in the employer’s payroll during our examination
period.
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Page 2
NOTE 1 (cont’d)
DEREK BAILEY

Mr. Bailey signed a form entitled “Employee Request for Union Benefits as of February
27, 2020, which was provided to us by the Fund office. Although Local 393 was listed
on this form, the employer reported Mr. Bailey under Local 393, the employer also
reported Mr. Bailey under Local 727 during our examination period. The Local 393
hours were reported under the General Presidents Project Maintenance Agreement,
with the exception of March 2020 and April 2020. These hours were reported under the
Local 393 Non-Manual Supervisor contract. The Local 727 hours were reported under
the Byron Nuclear Power Station General Presidents Project Maintenance Agreement.
We did not identify any discrepancies in the number of hours listed in the employer’s
payroll and the number of hours reported to the Fund.

TODD STEHL

We were not provided with a Union Benefit Authorization Form by the Fund office or by
the employer. During our examination period, the employer reported Mr. Stehi under the
Local 393 General Presidents Project Maintenance Agreement and the Local 727
General Presidents Project Maintenance Agreement for the Byron Nuclear Power
Station. They also reported Mr. Stehl under the Local 309 Building contract in March
2020 and April 2020. We did not identify any discrepancies in the number of hours listed
in the employer's payroll and the number of hours reported to the Fund.

JOSEPH VICKERS

The Fund provided us with a signed Union Benefit Authorization Form for Allied Power
which pertains to the Local 393 Braidwood Nuclear Power Station. The form was signed
by Mr. Vickers on 01/23/18. During our examination period the employer reported Mr.
Vickers to the Fund under the Local 393 Production Service Agreement. We did not
identify any discrepancies in the number of hours listed in the employer's payroll and
the number of hours reported to the Fund.
Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 47 of 52 PagelD #:47

Page 3
NOTE 1 (cont’d)
KEVIN COUCH

We were not provided with a Union Benefit Authorization Form from the Fund office or
the employer for Kevin Couch. During our examination period the employer reported Mr.
Couch to the Fund under the Local 393 General Presidents Project Maintenance
Agreement for Local 393 and the Local 727 General Presidents Project Maintenance
Agreement for Local 727, the Byron Nuclear Power Station. In April 2020, the employer
reported Mr. Couch to the Fund under the Local 309 Building contract. We did not
identify any discrepancies in the number of hours listed in the employer’s payroll and
the number of hours reported to the Fund

LAWRENCE LUKENS

The Fund provided us with a copy of an Allied Power Union Authorization Form signed
by Mr. Lukens on 01/29/19. This form pertained to Local 703 and the Clinton Nuclear
Power Station. During our examination period, the employer reported Mr. Lukens under
the Non Manual Supervisor agreement in Local 703. We did not identify any
discrepancies in the number of hours listed in the employer’s payroll and the number of
hours reported to the Fund.

RICH GRIFFITH

We were not provided with a Union Benefit Authorization Form by the Fund or the
employer for Mr. Griffith. Based upon our review of the employer's records provided to
us, Mr. Griffith was not listed in the employer’s payroll for our examination period.

JOHN WITHEROW

We were not provided with a Union Benefit Authorization Form by the Fund office or the
employer for Mr. Witherow. The employer reported Mr. Witherow to the Fund under the
General Presidents Project Maintenance Agreement for Local 727, the Byron Nuclear
Power Station in 2019. However, the hours listed in the payroll for Mr. Witherow were
not reported in 2020. The employer representative stated that he withdrew from the
union and decided to get benefits directly from the employer. After conferring with the
Fund, we were directed to show the unreported hours for Mr. Witherow as due herein.
We have shown them as due under Local 727GPPMA.
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Page 4
NOTE 1 (cont’d)
AL SUTTON

The employer provided us with a Union Benefit Authorization Form which was signed
with Allied Power on 09/04/19. The employer reported Mr. Sutton to the Fund under the
Local 727 Byron Nuclear Power Station General Presidents Project Maintenance
Agreement, the Local 703 Non Manual Supervisors Agreement, and the Local 309
Building contract during our examination period. We did not identify any discrepancies
in the number of hours listed in the employer's payroll and the number of hours reported
to the Fund. As previously stated, a copy of this form, along with the additional forms
provided to us, have been attached.

PAUL GOULD

We were not provided with a Union Benefit Authorization Form from the Fund office or
the employer for Mr. Gould. Based upon our review of the employer’s records provided
to us, Mr. Griffith was not listed in the employer's payroll for our examination period.
Case: 1:21-cv-03061 Document #: 1 Filed: 06/08/21 Page 49 of 52 PagelD #:49

 

 

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92 r8z$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'Or$ 00'09$ Sz'er$ €L 99 ae ers 00'0e$ SOUN
95 'Sr$ 00'0$ 00'0$ 00'0$ 00'0$ 00'o$ 00°0$ ov9o$ o9'6$ z6'9$ 06 '0L$ pe'o$ 08'r$ WOUd LIN
Oz LL6S 00'0$ 00'0$¢ 00'0$ 00'0$ 00'0$ 00'0$ 00'8zL$ 00'Z61$ ov'eels 00'8lz$ 08 Bel$ 00'96$ SNINIVELL
oo'res'9$ 000g 00°0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'098$ OO'Orr'L$ = =—CO'BED'LS = 00'SE9'LS = OLE PO'LS ~=—s- GO OZZ$ IN ALINNNG
80 z29$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'9e1$ 00'r0z$ 9S rZL$ 0z'961$ 26 bz Oras IN SYVITAM
09'209'8$ 000% 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ OO'OSE'L$ OO'OPO'ZS  OZESP'LS  O068z'ZS OF ZSrLS  0OBO0'LS ON SUVITaM
OB'2e8'8$ coos 00°0$ 00'0$ 00'0$ 00'0$ 00'0$ O@SLET$ O8ZE'L$ EZ EBZ'IS BrorO'zs  Gezoe'l$s oz LO6$ ddNS NOISN3d
98°9/9'2$  00°0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ OPBZO'l$ ODLZLO'LG  ZO'OSL'IS  SO9Ee'LS  GEEOL'LS  o8'808¢ NOISN3d
and sunowy
00'6E41 00'0 000 00'0 00'0 00°0 00'0 00'091 00°0bz 00°€ZL 0S'22z OS eb 00'0Z1 SINOH JenBay payodaiun

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O0'6ELL 00°0 00°0 00'0 00'0 00°0 00'0 00091 00'Ore OO'EZL 09222 OS ELL 00°0ZL “rT NHOPMOMSHLIM
e}oL. eunr Ae; Judy youey, Aieniqa4 Avenuer

 

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SINOH JejnBay payodaiupy

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sayey
60°69S'Z$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 2z'19e$ 06 Less 23 06C$ BE vLO$ LO L6e$ 00'02z$ AMGEN [eIOL
60°69S'7$ 000% 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 2zL9e$ 06 LPS$ zg 06e$ 6 PLOs LO L6e$ 00'022$ sang Bupyon
ang sjunowy
00'L60'ZS$ a0°0$ 00°0$ 00'0$ 00'0$ 00'0$ 00'0$ oz 9zo's$ =©oe zpO'zL$ ~«azaz9's$ = oz'eSO'ELS OL689'8$  00°000'9$ abe ssoi9 Je}01 payodaun
00°L60'2S$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 00'0$ 0z'8Z0'8$ OfZPO'ZES Oz el9'8$  OZESI'CLS Ol'eg9'a$  oDCD0'Ds “Sar TENHOPMOMSHLIM
J2}O |. aunr ew ludy youeyy Aeniqe4 Arenuer

 

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ROMOLO

& ASSOCIATES, LLC

CERTIFIED PUBLIC ACCOUNTANTS

November 23, 2020

Central Laborers P,W&A Fund
P.O. Box 1267
Jacksonville, IL 62651

1700 W. LUTHY DRIVE, PEORIA IL 61615
PHONE 309.682.2001 * FAX 309.682.2045 » romolocpa.com

Invoice # 28552

 

For professional services rendered in connection with the fringe
benefit payroll compliance examination on behalf of the:

Central Laborers Pension, Welfare, & Annuity Funds for Allied Power Services, LLC for
the period January 1, 2019 through June 30, 2020:

Scheduling
Field Work
Processing
Expenses (see attached list)

PAYABLE UPON RECEIPT

75.00
2,475.00
157.50
161.52

 

TOTAL kp

$ 2,869.02

EXHIBIT

Cc
